Case 1:16-cv-23409-DPG Document 225-2 Entered on FLSD Docket 08/01/2019 Page 1 of 4



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                Case No. 1:16-cv-23409-Gayles/Louis

   STEVEN MICHAEL COX, individually and              )
   on behalf of those similarly situated,            )
                                                     )
                  Plaintiff,                         )
                                                     )
   v.                                                )
                                                     )
   PORSCHE FINANCIAL SERVICES, INC.,                 )
                                                     )
                  Defendant.                         )


                   DEFENDANT PORSCHE FINANCIAL SERVICES, INC.’S
                    STATEMENT OF UNDISPUTED MATERIAL FACTS

          Pursuant to Local Rule 56.1(a), Defendant Porsche Financial Services, Inc. submits the

   following statement of material facts as to which there is no genuine issue to be tried, in support

   of its motion for partial summary judgment:

          1.      Pursuant to the Court’s approval of the plan for class notice, Plaintiff’s counsel

   identified 80 lease agreements as involving class members to receive class notice. (Ex. A (Mohr

   Decl.) ¶ 2.)

          2.      Of the 80 class-member leases identified by Plaintiff’s counsel, the following 17

   leases had a total contractual obligation exceeding the applicable threshold amount under

   Regulation M as of the date the lease was executed:

            Bates Range                 Date Lease         Total Contractual
                                        Executed           Obligation (Line 8(G))
            PORSCHE000025               11/29/2012         $52,664.40
            PORSCHE000043–44            12/30/2009         $32,439.24
            PORSCHE000045               3/17/2010          $36,999.72
            PORSCHE000046–47            10/21/2010         $66,874.32
Case 1:16-cv-23409-DPG Document 225-2 Entered on FLSD Docket 08/01/2019 Page 2 of 4



           PORSCHE000048               10/26/2010        $84,750.48
           PORSCHE000050               3/15/2011         $38,740.68
           PORSCHE000051               5/19/2011         $58,899.24
           PORSCHE000057               3/10/2012         $52,493.76
           PORSCHE000075               6/30/2014         $102,462.45
           PORSCHE000081               11/29/2014        $55,464.84
           PORSCHE000089               4/27/2015         $67,636.80
           PORSCHE000092               12/17/2015        $61,377.00
           PORSCHE000101               6/24/2016         $61,377.00
           PORSCHE001608               9/2/2016          $56,074.80
           PORSCHE001618–19            1/25/2017         $57,297.96
           PORSCHE001620–21            2/8/2017          $61,914.24
           PORSCHE001624–25            2/14/2017         $57,746.16

   (Ex. A (Mohr Decl.) ¶ 2 & Ex. 1; 12 C.F.R. § Pt. 213, Supp. I, Section 213.2(e)(11).)

          3.     Of the 80 class-member leases identified by Plaintiff’s counsel, the following 20

   leases were terminated prior to August 8, 2015:

           Bates Range                                            Lease           Date of Lease
                                                                  Number          Termination
           PORSCHE000003                                          1100101007      7/29/2013
           PORSCHE000004                                          1100106071      3/4/2015
           PORSCHE000011                                          1100111232      7/14/2015
           PORSCHE000012                                          1100111596      8/4/2015
           PORSCHE000025                                          1100103041      10/30/2014
           PORSCHE000043–44                                       1100071956      10/22/2012
           PORSCHE000045                                          1100073113      3/1/2013
           PORSCHE000046–47                                       1100078379      10/10/2012
           PORSCHE000048                                          1100078536      3/28/2013
           PORSCHE000050                                          1100081963      3/19/2014
           PORSCHE000051                                          1100083931      12/5/2013
           PORSCHE000052 (duplicate of PORSCHE002576)             1100091875      8/28/2013
           PORSCHE000054 (duplicate of PORSCHE002579)             1100092384      12/20/2013
           PORSCHE000055                                          1100094968      1/12/2015
           PORSCHE000057                                          1100096192      4/22/2014
           PORSCHE000058                                          1100103884      7/11/2014
           PORSCHE000059                                          1100104467      1/20/2015
           PORSCHE000060                                          1100106924      1/20/2015
           PORSCHE000063 (duplicate of PORSCHE002583)             1100109505      6/10/2015
           PORSCHE000082                                          1100129230      2/5/2015

   (Ex. A (Mohr Decl.) ¶¶ 2–3 & Ex. 2; ECF No. 125-10 (Supena Decl.) ¶¶ 2–4.)


                                                     2
Case 1:16-cv-23409-DPG Document 225-2 Entered on FLSD Docket 08/01/2019 Page 3 of 4



          4.      Plaintiff Cox never contacted Porsche Financial Services, Inc. to request a refund

   of sales tax that he believed had been charged improperly as part of his March 10, 2015, lease

   with Porsche of Fort Myers. (Ex. B (Cox. Dep. excerpts) at 14:12–14, 38:4–6.)

          5.      Plaintiff Cox never requested an assignment from Porsche of Fort Myers or from

   Porsche Financial Services, Inc. to pursue administrative refund procedures with the Florida

   Department of Revenue. (Ex. B (Cox Dep. excerpts) at 154:16–155:10.)

          Respectfully submitted,

   /s/ Thomas M. Byrne                                 /s/ Steven Ellison
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                                                   3
Case 1:16-cv-23409-DPG Document 225-2 Entered on FLSD Docket 08/01/2019 Page 4 of 4



                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 1, 2019, I electronically filed the foregoing

   Defendant Porsche Financial Services, Inc.’s Statement of Undisputed Material Facts with

   the Clerk of Court using the CM/ECF filing system. I further certify that the foregoing document

   was served on all counsel of record via transmission of the Notice of Electronic Filing generated

   by the Court’s CM/ECF system.

                                                       /s/ Steven Ellison
                                                       Steven Ellison (510319)
